













Opinion issued May 6, 2004








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-04-00288-CV
____________

MDSERVE, INC., Appellant

V.

STRATEGIC NETWORK CONSULTING, L.P., Appellee




On Appeal from the 127th District Court
Harris County, Texas
Trial Court Cause No. 2003-46460




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant has filed a motion to dismiss its appeal.  More than 10 days have
elapsed, and no objection has been filed.  No opinion has issued.  Accordingly, the
motion is granted, and the appeal is dismissed.  Tex. R. App. P. 42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Chief Justice Radack and Justices Nuchia and Jennings.


